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                      UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

     Plaintiffs,
                                          Case No. 1:18-cv-00950-LO-JFA
v.

COX COMMUNICATIONS, INC., et al.,

     Defendants.



      MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION TO PRECLUDE
       CERTAIN EXPERT TESTIMONY BY W. CHRISTOPHER BAKEWELL
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                                       INTRODUCTION

       Cox’s trial strategy is to parade out a cadre of expert witnesses to distract, sow confusion,

and offer opinions untethered to the facts. Its objective is to hide behind experts with extensive

resumes, who will tell the jury what to think and how to decide the case. This motion addresses

the improper testimony of Cox’s proposed expert, W. Christopher Bakewell. He is a financial

consultant Cox hired to rebut Plaintiffs’ expert, Dr. William H. Lehr.

       Mr. Bakewell proposes to testify that a damages award based on Dr. Lehr’s conclusions

would result in a “windfall” for Plaintiffs. This testimony should be precluded. It usurps the

jury’s role to award statutory damages. It also misleads the jury on the statutory damages

considerations. The jury alone decides what statutory damages to award based on the Court’s

instructions. Mr. Bakewell’s opinion on what damages the jury should award is completely

irrelevant and unfairly prejudicial.

                                        BACKGROUND

       W. Christian Bakewell is a Managing Director of a consulting firm specializing in

financial advisory services, Duff & Phelps, LLPs. Decl. of Jeffrey M. Gould in Supp. of Pls.’

Mot. to Preclude Certain Expert Testimony By W. Christopher Bakewell (“Gould Decl.”) Ex. 1,

¶ 1 (Rebuttal Expert Report of W. Christopher Bakewell Regarding Damages, May 15, 2019

(“Bakewell Rept.”)). He holds an M.B.A. and is an Accredited Senior Appraiser in Business

Valuation. Id. ¶ 3. In his professional practice, he provides consulting services involving

valuation and related issues in connection with technology-rich businesses and intellectual

property. Id. ¶ 1. He is a professional expert witness who has testified nearly 100 times in the

last four years. Id. Attach. B.

       Mr. Bakewell’s report focuses on purporting to rebut Dr. Lehr’s analysis of the profits

Cox earned from its business as a service provider. Id. ¶¶ 59-105. Mr. Bakewell also takes issue




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with Dr. Lehr’s analysis showing the financial benefits Cox received from infringement and the

incentives Cox had to tolerate infringement. Id. ¶¶ 106-123. While Mr. Bakewell’s conclusions

on those issues are flawed, they are not the subject of this motion. The focus of this motion is

Mr. Bakewell’s proposed testimony about what statutory damages the jury should award.

                                             ARGUMENT

    I.       THE LEGAL STANDARD

          Federal Rule of Evidence 702 governs the admissibility of expert testimony. Under Rule

702, scientific, technical, or other specialized knowledge may be presented to the jury by an

expert witness if: (1) it is potentially helpful to the jury; (2) it is based on sufficient facts or data;

(3) it is the product of reliable principles and methods; and (4) the testimony is applied to the

facts of the case. Fed. R. Evid. 702. The “touchstone of the rule is whether the testimony will

assist the jury.” United States v. Offill, 666 F.3d 168, 175 (4th Cir. 2011).

          Trial courts act as gatekeepers to ensure that expert testimony is reliable and relevant.

Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 597 (1993). The Court must determine if

the “reasoning or methodology underlying the expert’s proffered opinion is reliable” and

“whether the opinion is relevant to the facts at issue.” Westberry v. Gislaved Gummi AB, 178

F.3d 257, 260-61 (4th Cir. 1999).

          The burden is on the party proffering the expert to prove by a preponderance of the

evidence that the expert’s testimony is admissible and that the requirements of the Federal Rules

of Evidence are satisfied. See Cooper v. Smith & Nephew, 259 F.3d 194, 199 (4th Cir.

2001); Daubert, 509 U.S. at 592 n.10.

    II.      THE COURT SHOULD PRECLUDE BAKEWELL FROM USURPING THE
             JURY’S PROVINCE TO DETERMINE STATUTORY DAMAGES

          In his report, Mr. Bakewell exceeds the proper scope of expert opinion by purporting to

tell the jury how it should award statutory damages. For example, he opines that, “from a



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financial and economic perspective, a remedy based upon Cox’s profits would be unrelated to,

and significantly in excess of, the potential value (if any) relieved [sic] by Cox from the alleged

infringement” and adds that “Dr. Lehr’s calculations would result in a financial windfall to

Plaintiffs.” Gould Decl. Ex. 1, ¶ 15 (Bakewell Rept.).

       Mr. Bakewell should be precluded from offering any such testimony at trial. The Fourth

Circuit has made clear that “opinion testimony that states a legal standard or draws a legal

conclusion by applying law to the facts is generally inadmissible.” United States v. McIver, 470

F.3d 550, 562 (4th Cir. 2006). The district court may also exclude expert testimony if it does not

assist the finder of fact. United States v. Barile, 286 F.3d 749, 760 (4th Cir. 2002) (citing Kopf v.

Skyrm, 993 F.2d 374, 377–78 (4th Cir. 1993) (stating that while “[a]n opinion is not

objectionable simply because it embraces an ultimate issue to be decided by the trier of fact, . . .

such an opinion may be excluded if it is not helpful to the trier of fact under Rule 702”) (internal

quotation omitted)). “The touchstone of the rule is whether the testimony will assist the jury.”

Offill, 666 F.3d at 175 (4th Cir. 2011). Legal conclusions or testimony that merely tells the jury

what result to reach is not likely to assist the jury in its determination and should be excluded.

Barile, 286 F.3d at 760 (citing Woods v. Lecureux, 110 F.3d 1215, 1220 (6th Cir. 1997)). Such

testimony does not assist the jury because it “supplies the jury with no information other than the

witness's view of how the verdict should read.” Offill, 666 F.3d at 175 (4th Cir. 2011) (quoting

Weinstein's Federal Evidence § 704.04[2][a] (2d ed. 2003).

       Applying these principles, Bakewell’s testimony on how to award statutory damages

should be precluded. Plaintiffs have elected statutory damages. Awarding statutory damages is

the jury’s province alone. Courts in this Circuit regularly exclude expert testimony where the




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expert offers a legal conclusion or tells the jury how to decide an issue.1 Mr. Bakewell’s opinion

that awarding certain amounts of damages would represent a “windfall” improperly invades that

province by instructing the jury how to award statutory damages. See Macro Niche Software,

Inc. v. 4 Imaging Sols., L.L.C., No. CV H-12-2293, 2013 WL 12140417, at *4 (S.D. Tex. Dec.

18, 2013) (excluding expert testimony that recommended a statutory damages award to the jury).

The Court should not permit Defendants’ counsel to play the ventriloquist to provide specious

closing argument through Mr. Bakewell.

       Mr. Bakewell’s damages exhortation should also be precluded because it misleads the

jury about how to award statutory damages. Mr. Bakewell’s arguments about an appropriate

remedy and that a certain level of damages would be a “windfall” are based solely on his

analysis of Cox’s profits. But a defendant’s profits are only one of the factors a jury considers

when awarding statutory damages. See Superior Form Builders, Inc. v. Dan Chase Taxidermy

Supply Co., 74 F.3d 488, 496-97 (4th Cir. 1996) (affirming jury instruction to consider “any

evidence that the defendants have a history of copyright infringement; any evidence that the

defendants are apparently impervious to either deterrence or rehabilitation; the extent of the

defendant’s knowledge of the copyright laws; any misleading or false statements made by the

defendants; . . . and any factor which the jury believes evidences the defendants knew, had



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  See, e.g., United States v. Wilson, 133 F.3d 251, 265–66 (4th Cir. 1997) (holding that the
district court erred by allowing witnesses to “give opinions on what the law means or how it is
interpreted”); United States v. Barile, 286 F.3d 749, 761 (4th Cir. 2002) (affirming exclusion in
FDA fraud case of expert testimony that FDA submissions did not contain “materially
misleading statements”); United States v. Chapman, 209 F. App’x 253, 269-70 (4th Cir. 2006)
(affirming exclusion in financial fraud case of both expert testimony regarding the scope of
Defendant’s fiduciary duties and testimony more generally about the existence and scope of a
fiduciary duty under various securities laws); Jackson v. United States, 638 F. Supp. 2d 514, 527
(W.D.N.C. 2009) (excluding attorney affidavits opining that Defendant received ineffective
assistance of counsel and collecting cases); Buser v. Eckerd Corp., No. 5:12-CV-755-FL, 2015
WL 1438618, at *7-*8 (E.D.N.C. Mar. 27, 2015) (excluding in ADA violation suit expert’s
opinion as to a job’s “essential function” and “essential duty”).


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reason to know, or recklessly disregarded the fact that its conduct constituted copyright

infringement”).

       A jury weighing these other factors can properly award statutory damages that are not

directly linked to the defendant’s profits from infringement. Id. (citing F.W. Woolworth Co. v.

Contemporary Arts, Inc., 344 U.S. 228, 234 (1952)). Such an award is not a “windfall” but a

proper application of the statutory damages framework. Mr. Bakewell’s testimony suggesting

otherwise will confuse the jury about what it can properly consider when awarding damages and

it should therefore be precluded. It is textbook law that “[p]roffered expert testimony should be

excluded when it will not assist the finder of fact to any degree beyond the assistance that

lawyers representing the parties could provide during their closing arguments.” 4. J. Weinstein

& Berger, Weinstein’s Federal Evidence, § 702.03[2][a] (J. McLaughlin ed., 2d 2010).

                                         CONCLUSION

       For the reasons set forth herein, Plaintiffs’ respectfully request that the Court preclude

Mr. Bakewell from testifying to how the jury should determine statutory damages.




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Respectfully submitted,

Dated August 30, 2019                      /s/ Scott A. Zebrak
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